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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        EASTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

                        Plaintiff,

v.                                                       Case No. CR-23-005-RAW

TRAVIS GENE SLOAT,

                        Defendant.


                                     MOTION TO UNSEAL CASE

       COMES NOW, the United States of America by and through Christopher J. Wilson,

United States Attorney and Anthony C. Marek, Assistant United States Attorney, and moves to

unseal the above captioned and numbered case. In support of said request, the Government would

submit the following:

       1.      On January 10, 2023, a sealed Indictment was filed in the U.S. District for the

Eastern District of Oklahoma.

       2.      On January 10, 2023, a AWarrant for Arrest@ was filed in the U.S. District Court for

the Eastern District of Oklahoma commanding the arrest of the defendant.

       3.      The United States Magistrate Judge for the Eastern District of Oklahoma has set an

arraignment for the defendant and the case should be unsealed for purpose of providing the

defendant notice of the current charges.

       WHEREFORE, premises considered, the United States of America respectfully requests

the Court unseal the case.
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                                   Respectfully submitted,

                                   CHRISTOPHER J. WILSON
                                   United States Attorney

                              s/   Anthony C. Marek
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